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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                       24-20034-CR-ALTONAGA/REID
                            CASE NO. _______
                                             49 u.s.c. § 46504
                                             18 U.S.C. § 981(a)(l)(C )                           MP

  UNITED STATES OF AMERICA                                                            Feb 1, 2024
 v.
                                                                                                    MIAMI

  BILLY OLVERA,

         Defendant.
  -------------
                                            INDICTMENT

         The Grand Jury charges that:

                     Interference with Flight Crew Members and Attendants
                                       (49 u.s.c. § 46504)

         On or about November 6, 2023, in Miami-Dade County, in the Southern Dist�ict of Florida,

  and in the Special Aircraft Jurisdiction of the United States, while aboard American Airlines flight

  232 en route from Dallas, Texas, to Miami, Florida,

                                          BILLY OLVERA,

  intimidated and attempted to intimidate a flight attendant of the aircraft, namely, "A.G.," and

  interfered with the performance of the duties of the flight attendant, and lessened the ability of the

  flight attendant to perform those duties, in violation of Title 49, United States Code, Section 46504.
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                                FORFEITURE ALLEGATIONS

         1.      The allegations of this Indictment are hereby re-alleged and by this reference fully

  incorporated herein for the purpose of alleging criminal forfeiture to the United States of America

  of certain property in which the defendant, BILLY OLVERA, has an interest.

         2.      Upon conviction of a violation of Title 49, United States Code, Section 46504, as

  alleged in this Indictment, the defendant shall forfeit to the United States of America, pursuant to

  Title 18, United States Code, Section 981(a)(l)(C), any property, real or personal, which

  constitutes or is derived from proceeds traceable to such violation.

         All pursuant to·Title 18, United States Code, Section 98l(a)(l)(C), and the procedures set

  forth at Title 21, United States Code, Section 853, both of which are incorporated by Title 28,

  United States Code, Section 2461(c).




                                                                A TRUE BILL




                                                                FOREPERSON�



  MARKE2YLAPOINTE
  UNITED STATES ATTORNEY



  ELIZABEIBNOO N-POMADA
  SPECIAL ASSISTANT UNITED STATES ATTORNEY




                                                   2
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                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                        CASE NO.: ______________

v.
                                                                CERTIFICATE OF TRIAL ATTORNEY
BILLY OLVERA,
-------=---=------'                                             Superseding Case Information:
                Defendant.                                      New Defendant(s)(Yes or No) ---
Court Division (select one)                                     Number of New Defendants
   (g] Miami               □
                     Key West                □ FTP              Total number of counts
       F1L□       Cl WPB
I do hereby certify that:
     1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
              witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.          I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
              their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

 • 3.         Interpreter: (Yes or No) ---
                                       No
              List language and/or dialect: ------

  4.          This case will take _3_ days for the parties to try.

  5.          Please check appropriate category and type of offense listed below:
              (Check only one)                         (Check only one)
              I   nm O to 5 days                    Cl Petty
              II IC] 6 to J O days                  □ Minor
              III  □11 to 20 days                   tl Misdemeanor
              IV Cl 21 to 60 days                   nm Felony
              V    □61 days and o�er

     6.       Has this case been previously filed in this District Court? (Yes or No)_N_o__
              If yes, Judge__________ Case No. _______________
     7.       Has a complaint been filed in this matter? (Yes or No)No
              If yes, Magistrate Case No. ___________
                                                                            ---
     8.       Does this case relate to a previously filed matter in this District Court? (Yes or No)__
                                                                                                    No__
              If yes, Judge__________ Case No. ______________ _
     9.       Defendant(s)in federal custody as of ____________________ _
     10.      Defendant(s)in state custody as of ______________________
     11.      Rule 20 from the____ District of ----,-,,,-----
     12.      Is this a potential death penalty case? (Yes or No) N_ o_ __
     13.      Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
              prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No)N_o __
     14.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office

     15.
              prior to October 3 , 2019 (Mag. Judge Jared Strauss? (Yes or No) No      ---
              Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo I. Sanchez
              during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? _No_ __


                                                                By:
                                                                          ELIZABETH NOO"t-4AN-POMADA
                                                                          Special Assistant United States Attorney
                                                                          Court ID No. A5503134
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name: =B=il'-ly�O�lv� er= �a _______________________

  Case No: -------------------------------

  Count#: 1

  Interference with Flight Crew Members and Attendants

  Title 49, United States Code, Section 46504
  * Max. Tenn of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): NIA
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000




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    *Refers only to possible term of incarceration, supervised release, and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
